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                    IN THE UNITED STATES DISTRICT COURT FOR THE


                              EASTERN DISTRICT OF VIRGINIA


                                        Alexandria Division



UNITED STATES OF AMERICA


               V.                                         Docket No. 1:19-mj-5
TREVOR J. STEVENSON,                                      Initial Appearance: February 4, 2019

               Defendant.




                                  CRIMINAL INFORMATION

                           COUNT I -(Misdemeanor-7087855/EV-17)


THE UNITED STATES ATTORNEY CHARGES THAT:

       On or about November 10,2018 at Fort Myer, Virginia, within the special maritime and

territorial jurisdiction ofthe United States in the Eastern District of Virginia, the defendant

TREVOR J. STEVENSON did unlawfully engage in disorderly conduct with the intent to cause

public inconvenience, annoyance or alarm or recklessly creating a risk thereof by engaging in

conduct, in a street, highway, or public place, having the direct tendency to cause acts of

violence by the person or persons at whom,individually, such conduct was directed.



(In violation of Title 18 United States Code Section 13, assimilating Section 18.2-415, Virginia

State Code, as amended.)
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